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    8   Attorneys for Plaintiff,
        HIGHMARK DIGITAL, INC.
    9
                      IN THE UNITED STATES DISTRICT COURT
   10
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
                                  WESTERN DIVISION
   12
         HIGHMARK DIGITAL, INC., a            )   CASE NO. 2:18-cv-06105-SJO-AS
   13                                         )
         California corporation,
                                              )
   14                                         )
                                Plaintiff,    )   DECLARATION OF DEREK
   15                                         )   HUISJEN IN SUPPORT OF
                                              )   PLAINTIFF HIGHMARK
   16         v.                              )   DIGITAL, INC.’S OPPOSITION
                                              )   TO DEFENDANTS’ MOTION TO
   17                                         )
         CASABLANCA DESIGN                    )   EXCLUDE EXPERT
   18    CENTERS, INC., a California          )   TESTIMONY
         corporation; FOUR SEASONS            )
   19                                         )   Hon. S. James Otero
         WINDOWS, INC., a California          )
   20    corporation; INTERIOR DOOR &         )   Magistrate Judge Alka Sagar
         CLOSET COMPANY, an                   )
   21                                         )
         unincorporated California company;   )   Date: February 18, 2020
   22    ONE DAY DOORS AND CLOSETS,           )   Time: 10:00 a.m.
         INC., a California corporation;      )   Judge: S. James Otero
   23                                         )   Location: Courtroom 10C
         DAVID WINTER, an individual; and     )
   24    ONE DAY ENTERPRISES, LLC, a          )   Discovery Cutoff: 9/30/2019
         Delaware company,                    )   Pre-Trial Conference: 6/1/2020
   25                                         )   Trial Date: 6/9/2020
                                Defendants.   )
   26                                         )
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    1   I, Derek Huisjen, hereby declare:
    2          1.    I have been retained as a technical expert for HIGHMARK
    3   DIGITAL, INC. (hereinafter “HighMark”) in this action. I have personal
    4   knowledge of the matters set forth in this Declaration and, if called upon as a
    5   witness, would testify competently thereto.
    6          2.    I submit this Declaration pursuant to Local Rule 7 in support of
    7   Plaintiff HighMark’s Opposition to Defendants’ Motion to Exclude Expert
    8   Testimony.
    9          3.    Attached to my Declaration in Support of Plaintiff HighMark’s
   10   Motion for Summary Judgment or Partial Summary Judgment filed
   11   December 20, 2019 (Docket No. [148-3]) as Exhibit 9 is a true and correct
   12   copy of my expert report dated October 16, 2019.
   13          4.    Section VII.D of that report describes background information
   14   provided by counsel. In that section, the sentence beginning on page 12, line
   15   25 states that “[o]ne of the Defendants’ sites generated HOP files through
   16   February 4, 2016 and then resumed on February 23, 2016.”             It is my
   17   understanding that counsel has withdrawn that assumption. As such, I am no
   18   longer relying upon that assumption in this case. Nonetheless, this change
   19   does not affect the ultimate opinions I express in my opening expert report.
   20          I declare under penalty of perjury under the laws of the United States
   21   that the foregoing is true and correct.
   22          Executed on January 28, 2020 at San Jose, California.
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   24                                             /s/ Derek Huisjen
   25
                                                  Derek Huisjen

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